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                 IN THE UNITED STATES DISTRICT COURT
                  DISTRICT OF UTAH, CENTRAL DISTRICT

  ESTATE OF PATRICK HARMON
  SR.;                                  ORDER GRANTING
  PATRICK HARMON II, as Personal        STIPULATED MOTION FOR
  Representative of the Estate of       EXTENSION OF TIME TO FILE
  Patrick Harmon Sr., and heir of       ATTORNEY PLANNING
  Patrick Harmon Sr.,                   MEETING REPORT AND
  TASHA SMITH, as heir of Patrick       PROPOSED SCHEDULING
  Harmon Sr.,                           ORDER
  Plaintiffs,                           Case No. 19-cv-00553-HCN-CMR
  v.                                    Judge Howard C. Nielson, Jr.
  SALT LAKE CITY, a municipality;       Magistrate Judge Cecilia M. Romero
  and
  OFFICER CLINTON FOX, in his
  individual capacity,
  Defendants.
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       This matter came before the Court on the Stipulated Motion for Extension of

 Time to File Attorney Planning Meeting Report and Proposed Scheduling Order

 (the “Stipulated Motion”). The Court, having considered the Stipulated Motion,

 and for good cause appearing, hereby ORDERS that the Stipulated Motion is

 GRANTED. The Parties will file their Attorney Planning Meeting Report and

 Proposed Scheduling Order by January 5, 2021.

       IT IS SO ORDERED.

       Dated this __th day of December 2021.

                                   BY THE COURT:



                                   Judge Cecilia M. Romero
                                   United States Magistrate Judge




                                         2
